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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 IN RE:                                      §
                                             §
 ALLIANCE FARM AND RANCH, LLC                §     Bankruptcy Case No. 25-30155
 and                                         §
 ALLIANCE ENERGY PARTNERS, LLC               §

             DUSTIN ETTER’S EMERGENCY MOTION TO RESCHEDULE

      Creditor and Interested Party Dustin Etter files this Emergency Motion to

Reschedule the hearing on the applications to employ counsel for Debtor Alliance Farm

& Ranch, LLC (“Alliance Farm”). The underlying motions are Doc 26 and Doc 31. It is

requested that they be rescheduled for any time on 5/6, 5/7,5/8, 5/9, 5/12, 5/13, 5/15, or

5/16 because:

      (a) the undersigned counsel is out of the country for a wedding on 5/27; and

      (b) it is necessary to resolve the issues related to the conflicts of counsel jointly
          representing Alliance Farm and AEP before those conflicts potentially
          irreparably harm AEP if AEP’s interests are not adequately defended in
          connection with a state court proceeding which is scheduled for 5/23.

      1.      The applications to employ were originally set for a hearing on 5/1/2025. On

the evening of Sunday, 4/27/2025, Tim Wentworth, counsel for Alliance Farm and AEP,

emailed the undersigned counsel requesting a continuance of the hearing saying that

there had been progress with Alliance Farm’s negotiations with the Ostranders over the

property disputed between Alliance Farm and the Ostranders. In reliance on that

representation, the undersigned counsel agreed to a continuance.

      2.      The hearing was rescheduled to 5/27/2025. The undersigned counsel will

be out of the country for a wedding on that date.

      3.      Additionally, it appears that Mr. Wentworth, intentionally or not, misled the



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undersigned counsel about the reasons for the continuance. Mr. Etter obviously did not

agree to be unopposed to a continuance so that Alliance Farm would have the opportunity

to challenge a key right and interest of AEP while it is effectively defenseless. However,

on 4/28/2025, the same day that Debtors filed their motion for continuance, Alliance Farm

filed a motion to expunge a lis pendens on the Honea Egypt property in dispute. That lis

pendens was partially filed based on claims which were asserted by Dustin Etter

derivatively on behalf of AEP. However, it appears that Mr. Etter and his counsel are no

longer able to defend those claims due to AEP’s bankruptcy filing. See UBS Fin. Servs.

v. Est. of Serrano (In re Fin. Oversight & Mgmt. Bd. for P.R.), 102 F.4th 527, 534 (1st Cir.

2024) (“When a cause of action belongs to the bankruptcy estate, the trustee has the

exclusive right to assert it, and all other parties are precluded from bringing derivative or

general claims to vindicate harm to the estate.”). The motion to expunge has been set for

submission in state court on 5/23/2025. Based on the current state of multi-party

settlement discussions, it appears likely that if Alliance Farm’s motion to expunge is

granted, AEP will at most get only $1,000,000 from the Honea Egypt property sale while

if Alliance Farm’s motion is denied AEP could get $1,300,000 to $1,500,000 from the sale.

Despite repeated pleas to current counsel for Debtor AEP, who is fully aware of the

$300,000 to $500,000 loss that AEP may face if its interests are not defended in the state

court setting sought by Alliance Farm currently scheduled for 5/23, Debtor AEP’s counsel

appears wholly unwilling to defend AEP’s interests. This does not appear to be

explainable by anything other than conflicts of interest in jointly representing Alliance

Farm and in being paid by Jerod Furr, who potentially stand to gain $300,000 to $500,000

at the expense of AEP if AEP is without effective counsel between now and 5/23.




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                                         PRAYER

       Dustin Etter requests and prays that this Motion to Reschedule be granted and for

such other and further relief to which Dustin Etter may be justly entitled.




                                          Respectfully submitted,

                                          IRELAN MCDANIEL, PLLC

                                               /s/ Noah Meek
                                          By:______________________________
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                                          ATTORNEYS FOR DUSTIN ETTER




                              CERTIFICATE OF SERVICE

      This is to certify that on April 30, 2025, a true and correct copy of this instrument
was served upon all parties VIA the Court’s CM/ECF System in compliance with the
Federal Rules of Bankruptcy Procedure.
                                                    /s/ Noah Meek
                                                  _____________________________
                                                  Noah Meek




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